8:03-cr-00290-RFR-SMB   Doc # 487   Filed: 06/19/12   Page 1 of 1 - Page ID # 4398



                IN THE UNITED STATES DISTRICT COURT FOR THE

                          DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,     )
                              )
               Plaintiff,     )                   8:03CR290
                              )
          v.                  )
                              )
STERLING J. McKOY,            )             ORDER AND JUDGMENT
                              )
               Defendant.     )
______________________________)


            Pursuant to the memorandum opinion entered herein this
date,

            IT IS ORDERED:

            1) Defendant is not entitled to a reduction of his

sentence.    The terms and conditions of the amended judgment and

committal order (Filing No. 251) remain in full force and effect.

            2) Defendant’s motion to supplement pending

§ 3582(c)(2) motion (Filing No. 481) is granted.              The supplement

is deemed filed.

            DATED this 19th day of June, 2012.
                                    BY THE COURT:

                                    /s/ Lyle E. Strom
                                    ____________________________
                                    LYLE E. STROM, Senior Judge
                                    United States District Court
